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       ORDERED in the Southern District of Florida on July 21, 2022.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA


       In re:                                        Case No: 17-15787-RAM
       ANDRE FOUAD AZZI                              Chapter 13
       SSN: XXX-XX-6638


                   Debtor(s)     /


            ORDER GRANTING DEBTOR’S MOTION TO DEEM CURRENT SECURED
                   OBLIGATION TO CREDITOR VILLAGE AT DADELAND
                        CONDO ASSOCIATION POC1 [DE#117]


              THIS CAUSE came to be heard on July 12, 2022 on chapter 13 consent calendar
       on Debtor’s Motion to Deem Current Secured Obligation to Creditor Village at Dadeland
       Condo Association POC#1 [DE#117]. Based upon the debtor’s assertions made in
       support of the Motion and being duly advised in the premises, the Court FINDS as
       follows:

              ORDERED AND ADJUDGED that:

              1.       That the Motion is GRANTED.
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       2.     Secured Obligation to Creditor Village at Dadeland Condo Association is
              Deemed Current.

       3.     Debtor shall resume regular payments directly to the Homeowner’s
              Association and Village at Dadeland Condo will restart sending regular
              monthly statements.

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Submitted by:

Christina A. Fiallo
7975 NW 154 Street
Miami Lakes, FL 33016


Christina A. Fiallo 7975 NW 154 Street, Suite 470 Miami Lakes, FL 33016, 305-222-
7715, attorney for Debtor, is directed to furnish a copy of this order on the parties listed
and file a certificate of service.
